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                                             UNITED STATES DISTRICT COURT
                          *r;
              !:c*i
                                                 Western District of Texas

                                                U.S.   Pretrial Services Office
                     Thi!WI$1*'
                                                                                                      San   Antonio Supervisors
                                                       January3,2020
                                                                               FILED                    Norma Aranda Gray
                                                                                                           Rick Ramos
                Carlos Urrutia
                                                                                                          Reynaldo Luna
      Chief U.S. Pretrial Services Officer
                                                                               JAN   1 3 2019

               Antonio Acosta                                                          DISTRICT CLERK          Reply to:
                 Deputy Chief                                                          Tj3lCT   97TEEXS       E.   Chavez Blvd. Rm   -636
                                                                          BY                     --         ntonio, TX 78206-1204
                Oscar Torres
                                                                                                              210-472-4053
           Assistant Deputy Chief



United States Magistrate Judge
do Magistrate Courtroom Deputies
655 E. Cesar E. Chavez Blvd.
San Antonio, TX 78206

RE:       Alonzo Blackman
          Case Number SA:19-CR-.523-XR-1
          Bond Violation Report No Court Action Requested

Your Honor:

On August 7, 2019, the defendant appeared in Court pursuant to a summons to appear and was ordered
released by U.S. Magistrate Judge Elizabeth Chestney on an unsecured bond with pretrial supervision and other
conditions of release. The defendant is charged by Indictment with violation of Title 18 U.S.C. § 1341, 1346
and 1349- Conspiracy to Commit Mail and Honest Services Fraud; Title 18 U.S.C. § 1028- Conspiracy to
Produce Identification Documents without Lawful Authority; and Title 18 U.S.C. § 1028- Conspiracy to Transfer
Identification Documents created without Lawful Authority. Blackman is scheduled to appear before U.S. District
Judge Xavier Rodriguez on February 13, 2020 for Docket Call/Rearraignment and Plea Hearing.

Pretrial Services alleges the defendant violated the following condition of the Release Order:
7(q): The defendant shall refrain from the use or unlawful possession of a narcotic drug and other
controlled substance defined in 21 U.S.C. Section 802 unless prescribed by a licensed medical
practitioner.

RESPECTFULLY PRESENTING THE BOND VIOLATION NOTICE AS FOLLOWS:

Blackman was ordered to participate in a substance abuse education and/or treatment program. Blackman was
referred and successfully completed a 20-hour Alcohol and Drug Awareness Education Program on October 17,
2019. On November 18, 2019, Blackman submitted a urine sample for drug testing, and the result was positive
for the properties of marijuana. Blackman was confronted with the test results, and he readily admitted to
smoking marijuana with some friends; however, he could not recall the exact date. Blackman was admonished
and referred for a substance abuse assessment. On December 5, 2019, Blackman attended the substance
abuse assessment as required, and the treatment provider recommended that Blackman attend two individual
substance abuse counseling sessions per month. Blackman's outpatient treatment counseling will commence
on January 9, 2020. On December 13, 2019, Blackman submitted a subsequent urine sample for drug testing,
and the result was positive for marijuana. Blackman denied using marijuana since mid-November 2019.
Blackman was admonished and informed of potential consequences for failure to abide by his conditions of
release.
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         Case Number SA:19-CR-523-XR-1
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RECOMMENDATION:

Pretrial Services respectfully recommends no Court action to allow Blackman to benefit from substance abuse
treatment. Pretrial Services will work with the treatment provider to address Blackman's recent drug use while
on bond. Blackman's urinalysis testing frequency has been increased. Once a pattern of compliance is
established, his drug testing will be adjusted accordingly. Should Blackman continue to violate the conditions of
his release, Pretrial Services will recommend further adverse action.

Pretrial Services contacted 'Assistant U.S. Attorney Joseph E. Blackwell to advise of the violation and
recommendation of no Court action.


Very Respectfully,



Brenda A. Gdmez)      '-                                          Reynaldo Lu
U.S. Pretrial Se ices Officer                                     Supervising U.S. Pretrial Services Officer
210-244-5318                                                      210-244-5446


COURT RECOMMENDATION:

The Court concurs with the proposed recommendation:               /
The Court DOES NOT concur with the proposed recommendation:


DATESIGNED:                                                  \/       (o
cc:      Joseph E. Blackwell, Assistant U.S. Attorney
         Edgardo R. Baez, Defense Attorney




      striving to exemplify the highest ideals and standards in community corrections."                        Page 2
